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                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF SOUTH CAROLINA
                                 GREENVILLE DIVISION


 Jane Doe 1, Jane Doe 2, Jane Doe 3, Jane )
 Doe 4, Jane Doe 5, Jane Doe 6, Jane Doe 7, )        C.A. No. 6:22-2957-HMH
 John Doe 1, John Doe 2, and John and Jane )
 Does 1-100,                                   )     OPINION & ORDER
                        Plaintiffs,            )
                                               )
         vs.                                   )
                                               )
 Varsity Brands, LLC; Varsity Spirit, LLC; )
 Varsity Brands Holding Company, Inc.;         )
 U.S. All Star Federation; USA Federation )
 of Sport Cheering d/b/a USA Cheer; Jeff       )
 Webb; Charlesbank Capital Partners, LP;       )
 Bain Capital, LP; Rockstar Cheer & Dance, )
 Inc.; Katherine Anne Foster, as the personal )
 representative of the Estate of Scott Foster; )
 Kathy Foster, individually; Kenny Feeley; )
 Josh Guyton; Nathan Allan Plank;              )
 Christopher Hinton; Tracy a/k/a or f/k/a      )
 Traevon Black; Peter Holley; and other        )
 Unknown Defendants,                           )
                                               )
                        Defendants.            )


        Before the court are Defendants Bain Capital, LP’s (“Bain”) and Charlesbank Capital

 Partners, LP’s (“Charlesbank”) motions to dismiss Plaintiffs’ amended complaint under Federal

 Rules of Civil Procedure 12(b)(2) and 12(b)(6). For the reasons below, the court grants Bain’s

 and Charlesbank’s motions.

                                         I. BACKGROUND

        Plaintiffs are nine former youth cheerleaders who allege that they were sexually abused

 by coaches employed by Defendant Rockstar Cheer & Dance, Inc. (“Rockstar Cheer”), a
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 cheerleading gym affiliated with the Varsity Defendants.1 In addition to pursuing claims against

 the individual coaches and Rockstar Cheer, Plaintiffs seek to hold Varsity, Jeff Webb (“Webb”),

 Bain, Charlesbank, and competitive cheerleading’s governing bodies – USA Federation of Sport

 Cheering (“USA Cheer”) and U.S. All Star Federation (“USASF”) – liable for misrepresenting

 the safety of Varsity gyms and competitions and failing to adopt and enforce adequate athlete-

 safety policies and procedures. The facts below are taken from Plaintiffs’ amended complaint

 and are accepted as true for purposes of the present motions. Ashcroft v. Iqbal, 556 U.S. 662,

 678 (2009).2

                              A. Overview of All Star Cheerleading

        Unlike traditional sideline cheerleading, All Star cheerleading is a competition-based

 sport unto itself. (Am. Compl. ¶¶ 42-43, ECF No. 8.) All Star cheer teams compete by

 performing two-and-a-half minute routines set to music, which incorporate elements of

 tumbling, stunting, cheer, and dance. (Id. ¶ 42, ECF No. 8.) According to Plaintiffs, over four

 million athletes across the United States participate in All Star cheerleading at some level, with

 many training and competing year-round. (Id. ¶ 44, 46, ECF No. 8.) This level of commitment

 is expensive: a single season costs anywhere from $3,000 to $7,000 per athlete, while some




        1
          The court refers to Defendants Varsity Brands, LLC (“Varsity Brands”), Varsity Brands
 Holding Company, Inc. (“Varsity Holding”), and Varsity Spirit, LLC (“Varsity Spirit”)
 collectively as “Varsity” or the “Varsity Defendants.”
        2
          This case is one of four cases before the court involving similar allegations of sexual
 assault and essentially the same defendants. 6:22-cv-03508-HMH, 6:22-cv-03509-HMH,
 6:22-cv-03510-HMH. Bain and Charlesbank have moved to dismiss the other three cases as
 well. Those motions will be addressed in separate orders.

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 families spend more than $20,000 a year for transportation, lodging, membership fees,

 merchandise, and uniforms. (Id. ¶ 45, ECF No. 8.)

        The beginnings of the competitive cheerleading industry can be traced to Webb’s

 founding of the predecessor to Varsity Spirit in 1974. (Id. ¶ 80, ECF No. 8.) Varsity Spirit

 began as a provider of educational training camps for cheerleaders and has since expanded into

 selling uniforms and apparel and organizing cheer competitions. (Am. Compl. ¶ 81, ECF No.

 8.) It now controls an estimated 80-90% of the All Star cheer market. (Id. ¶ 49, ECF No. 8.)

 From 2014 to 2018, Varsity was wholly owned by Charlesbank, a Boston-based company. (Id.

 ¶¶ 38, 107, ECF No. 8.) Today, Varsity is owned by another Boston-based company – Bain –

 which purchased Varsity in 2018 for $2.5 billion.3 (Id. ¶¶ 39, 109, ECF No. 8.)

        Two governing bodies oversee competitive cheerleading in the United States: USASF

 and USA Cheer. (Id. ¶¶ 86, 89, ECF No. 8.) Plaintiffs maintain that Varsity was heavily

 involved in creating and operating both organizations. For example, Varsity allegedly advanced

 a $1.8 million interest-free loan to help launch USASF, submitted USASF’s trademark

 application, and for at least fifteen years, housed USASF’s offices at its corporate address and

 paid USASF’s employees directly. (Am. Compl. ¶¶ 85, 96-98, ECF No. 8.) Varsity also

 continues to control a majority of the seats on USASF’s board of directors, including all seats

 with voting rights. (Id. ¶ 99, ECF No. 8.) Similar to USASF, USA Cheer was purportedly

 created in 2007 with the help of an interest-free loan from Varsity, listed “Varsity’s Tennessee




        3
         At the same time, Plaintiffs allege that “Charlesbank made a new investment in Varsity
 alongside . . . Bain and retained a minority stake in the business.” (Am. Compl. ¶ 109, ECF No.
 8.)

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 headquarters as its own,” and at one time had six Varsity employees on its board. (Id. ¶¶ 89, 91,

 103, ECF No. 8.)

        As a result of Webb’s and Varsity’s ties to cheerleading’s governing bodies, Plaintiffs

 contend, Webb and Varsity “were entirely self-regulated” and could control “all aspects of All-

 Star cheer.” (Id. ¶¶ 82, 95, ECF No. 8.) As examples, Plaintiffs point out that:

 •      All Star athletes must buy a USASF membership to compete at Varsity events. (Id.
        ¶ 51, ECF No. 8.)

 •      All Star athletes are required to pay annual or monthly dues to Varsity and their local
        Varsity-affiliated gym for “competition attendance, uniforms, accessories, and other
        related fees.” (Am. Compl. ¶ 56, ECF No. 8.)

 •      “Gyms and coaches likewise pay monthly or annual fees to USASF, USA Cheer and the
        Varsity Defendants.” (Id. ¶ 57, ECF No. 8.)

 •      Affiliate gyms are required “to sign multi-year supply contracts whereby the gyms are
        paid cash rebates from Varsity for buying [its] merchandise and for sending the gym’s
        athletes to Varsity events.” (Id. ¶ 54, ECF No. 8.)

 •      “[M]embership in USASF[] and with a Varsity-affiliated gym mandates competing in a
        specified number of annual [V]arsity events.” (Id. ¶ 59, ECF No. 8.)

 •      Athletes and their families must purchase rooms at Varsity-selected hotels while at
        Varsity competitions; the failure to do so “subjects the athlete to disqualification.” (Id.
        ¶ 61, ECF No. 8.)

                         B. Scott Foster and the Rockstar Cheer Gym

        Defendant Scott Foster cheered collegiately at the University of Louisville, “a pre-

 eminent [sic] name in the world of competitive cheerleading,” and began coaching youth

 cheerleaders in Kentucky in 1996. (Am. Compl. ¶¶ 134-35, ECF No. 8.) Shortly after moving

 to Greenville, South Carolina in 1999, Scott Foster opened an All Star cheer gym together with

 his wife, Defendant Kathy Foster. (Id. ¶ 137, ECF No. 8.) The couple at one point also operated



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 World Spirit Federation, a competition cheerleading company, before selling the company to

 Varsity Brands in 2006. (Id. ¶ 138, ECF No. 8.) A year later, in 2007, Scott and Kathy Foster

 opened Rockstar Cheer in Greenville. (Id. ¶ 139, ECF No. 8.) Rockstar Cheer’s stated mission

 was “[t]o provide a structured environment of competitive cheerleading while accomplishing

 our goals [and] to teach dedication, commitment, self-confidence, teamwork, discipline,

 responsibility, and leadership in a family-friendly, safe and fun environment.” (Id. ¶ 140, ECF

 No. 8.) To this end, USASF certified Rockstar Cheer “as meeting All-Star standards with

 respect to coach credentials, program quality, and athlete safety.” (Am. Compl. ¶ 141, ECF

 No. 8.) According to Plaintiffs, this meant that USASF “warrant[ed] that [Rockstar Cheer], its

 coaches, and its choreographers were deemed safe, and that the gym followed best practices

 related to athlete safety.” (Id. ¶ 53, ECF No. 8.)

        In 2018, one of Rockstar Cheer’s teams, Beatles, won Varsity’s World Championship

 title. (Id. ¶ 144, ECF No. 8.) This accomplishment “further elevated Rockstar’s status” and

 allowed Scott and Kathy Foster “to recruit athletes nationwide.” (Id. ¶¶ 143-44, ECF No. 8.)

                                C. Plaintiffs’ Allegations of Abuse

                                           1. John Doe 1

        John Doe 1 began cheering for an All Star team in California while in the sixth grade.

 (Id. ¶ 201, ECF No. 8.) In 2017, he joined a “Level 4 BlackJacks team” after moving to Las

 Vegas. (Am. Compl. ¶ 203, ECF No. 8.) John Doe 1 first learned of Scott Foster around this

 time through Foster’s “reputation in the [Varsity] community” and his social media presence.

 (Id. ¶¶ 205-06, ECF No. 8.) After John Doe 1 followed Foster on social media, Foster followed

 John Doe 1 back and began sending him direct messages. (Id. ¶¶ 207, 209, ECF No. 8.) The


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 two exchanged direct messages for about a month leading up to a Varsity tournament in 2019 in

 which John Doe 1 was to compete. (Id. ¶ 210, ECF No. 8.) At some point, Foster asked John

 Doe 1 for his cell phone number and later text messaged him about meeting at the tournament.

 (Id. ¶ 210, ECF No. 8.) John Doe 1 – who was sixteen at the time – understood from the “tone

 and tenor of the communications” that Foster was soliciting him to engage in sexual conduct.

 (Am. Compl. ¶¶ 211, 221, ECF No. 8.) John Doe 1 “felt uncomfortable with the exchange but

 also felt uncomfortable ceasing communications with such an important figure in the

 competitive cheer community.” (Id. ¶ 212, ECF No. 8.) John Doe 1 and Foster allegedly

 exchanged nude photographs of themselves and “had their first sexual encounter” at the

 tournament. (Id. ¶¶ 213-14, 218, ECF No. 8.) John Doe 1 asserts that they had a second sexual

 encounter in May 2019 at another Varsity tournament where Foster performed oral sex on and

 received oral sex from John Doe 1. (Id. ¶¶ 219-20, ECF No. 8.)

                                          2. John Doe 2

        John Doe 2 began cheering around 2013 when he was in the eighth grade. (Id. ¶ 228,

 ECF No. 8.) He joined Rockstar after moving to Greenville in 2014. (Am. Compl. ¶ 229,

 ECF No. 8.) Almost immediately, Defendants Tracy a/k/a or f/k/a Traevon Black (“Black”)

 and Peter Holley (“Holley”) allegedly “began making inappropriate and vulgar comments to

 him.” (Id. ¶ 230, ECF No. 8.) When he was sixteen, John Doe 2 claims that he was pressured

 into sending nude photographs to Black and Holley. (Id. ¶¶ 231-32, ECF No. 8.) John Doe 2

 also claims that he was pressured into going to the “Rockstar house” – a house paid for by Scott

 and Kathy Foster where Rockstar coaches “host[ed] parties, d[id] drugs, and dr[a]nk alcohol

 with the minor athletes.” (Id. ¶¶ 234, 236, ECF No. 8.) One time, John Doe 2 went to the


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 Rockstar house at the request of an unidentified coach who purportedly “tried to engage in oral

 sex” with John Doe 2 and forced him to watch pornographic videos. (Id. ¶ 237, ECF No. 8.)

 John Doe 2 also asserts that another unnamed Rockstar coach, “who was at least twice Plaintiff

 John Doe 2’s age,” invited him over to the Rockstar house and offered him marijuana and

 alcohol. (Am. Compl. ¶ 239, ECF No. 8.) John Doe 2 maintains that Scott and Kathy Foster

 knew about and condoned this behavior and that it “was actually encouraged as a way of

 ensuring that the athletes remained at Rockstar.” (Id. ¶ 240, ECF No. 8.)

                                           3. Jane Doe 1

        Jane Doe 1 began cheering for the Carolina All-Stars while in the seventh grade. (Id.

 ¶ 244, ECF No. 8.) When she was fifteen, she was placed on Scott Foster’s team. (Id. ¶ 245,

 ECF No. 8.) Jane Doe 1 claims that Foster “immediately began grooming her.” (Id. ¶ 246, ECF

 No. 8.) For example, she alleges that Foster would spend “hours talking to her about other

 athletes’ sex lives” and asked whether she had “any interest in engaging in certain sexual

 activity, including anal sex.” (Am. Compl. ¶ 246, ECF No. 8.) Jane Doe 1 states that these

 discussions made her “extremely uncomfortable, but at the same time created an artificial sense

 of closeness with . . . Foster.” (Id. ¶ 246, ECF No. 8.) When Jane Doe 1 was seventeen, Foster

 offered to use his connections with the University of Louisville to help with her recruitment.

 (Id. ¶ 247, ECF No. 8.) Accordingly, Jane Doe 1 traveled with Scott and Kathy Foster to one

 Varsity tournament a day early to visit the University of Louisville. (Id. ¶ 248, ECF No. 8.)

 Upon arriving at the team hotel, Jane Doe 1 realized she forgot a toothbrush, so she called Scott

 Foster, who brought one to her room. (Id. ¶ 249, ECF No. 8.) She claims that Foster then sat on

 her bed and made a sexual advance toward her. (Am. Compl. ¶ 249, ECF No. 8.)


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                                           4. Jane Doe 2

        Jane Doe 2 started cheering when she was five years old. (Id. ¶ 251, ECF No. 8.) While

 at Varsity’s World Championship Event during the 2018 season, then fifteen-year-old Jane Doe

 2 was introduced to an unidentified male coach who “repeatedly attempted to force [her] to

 engage in sexual acts,” even though “she was clearly underage” and “repeatedly told him no.”

 (Id. ¶¶ 252-53, ECF No. 8.) Jane Doe 2 began competing for Rockstar in 2019 while

 commuting from her home in North Carolina. (Id. ¶ 255, ECF No. 8.) During one of her first

 Rockstar practices, she trained with Scott Foster, “who complimented her on her looks, and

 began almost immediately to touch her inappropriately.” (Id. ¶ 256, ECF No. 8.) Jane Doe 2

 also spent the night at Foster’s house twice in the following months at his invitation; each time,

 she alleges, Foster gave her “drugs and alcohol.” (Am. Compl. ¶ 257, ECF No. 8.) Jane Doe 2

 further alleges that she “was provided alcohol and drugs on numerous occasions while she

 cheered with Rockstar, including during competitions hosted by the Varsity Defendants and

 overseen by . . . USASF.” (Id. ¶ 258, ECF No. 8.) She specifically “recalls going to a party with

 other athletes at the penthouse of one of the Varsity-selected hotels” where she drank alcohol

 with Foster. (Id. ¶ 259, ECF No. 8.) Jane Doe 2 states that this culture of alcohol and drug use

 “created an environment where the athletes’ inhibitions were down” and “created a sense of

 sexual availability between the adult coaches and the child-athletes.” (Id. ¶ 260, ECF No. 8.)

                                           5. Jane Doe 3

        Jane Doe 3 started cheering for the Carolina All Stars at the age of nine. (Id. ¶ 267, ECF

 No. 8.) Scott Foster became her coach when she was eleven years old. (Am. Compl. ¶ 268,

 ECF No. 8.) During one cheer competition when she was sixteen years old, Foster assigned


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 Jane Doe 3 to share a room with multiple people, including an adult coach, Defendant Kenny

 Feeley (“Feeley”). (Id. ¶¶ 271-72, ECF No. 8.) She alleges that Feeley climbed into her bed,

 “groped and fondled her, and digitally penetrated her.” (Id. ¶ 272, ECF No. 8.) Sometime later,

 Foster arranged for Jane Doe 3 to receive private training from Feeley. (Id. ¶ 273, ECF No. 8.)

 But rather than provide instruction, Feeley allegedly took Jane Doe 3 to his apartment and

 supplied her with alcohol and marijuana, before taking her to another location and raping her.

 (Id. ¶ 274, ECF No. 8.) Jane Doe 3 states that Foster would make comments about the alleged

 rape while at practice, “insinuating that [he] knew what happened.” (Am. Compl. ¶ 276, ECF

 No. 8.) Jane Doe 3 ultimately quit cheerleading because of these incidents. (Id. ¶ 275, ECF

 No. 8.) While she was still cheering, however, she often spent time at Scott and Kathy Foster’s

 home, “where they would all get in a hot tub together and the Fosters would provide [her] with

 alcohol.” (Id. ¶ 278, ECF No. 8.) “Jane Doe 3 also recalls parties that took place at the Varsity

 competitions where she and the other young athletes were given alcohol.” (Id. ¶ 279, ECF

 No. 8.)

                                           6. Jane Doe 4

           Jane Doe 4 began cheering when she was nine years old. (Id. ¶ 281, ECF No. 8.) In

 2019, when she was eighteen, “she left her smaller gym in Alabama to try out for Rockstar.”

 (Am. Compl. ¶ 282, ECF No. 8.) Jane Doe 4 was placed on a “Worlds’ level team” and

 attended her first competition on behalf of Rockstar – Varsity’s Battle Under the Bigtop – in

 December 2019. (Id. ¶¶ 285-86, ECF No. 8.) Jane Doe 4 states that after the first day of the

 competition, Scott Foster invited her to his hotel room and served her alcohol. (Id. ¶ 288, ECF

 No. 8.) Jane Doe 4 additionally claims that Foster and other Rockstar coaches provided her and


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  other athletes with alcohol on the last night of competition. (Id. ¶ 289, ECF No. 8.) That same

  night, Jane Doe 4 alleges that Foster kissed her in a stairwell while the two were going outside

  to smoke a cigarette. (Id. ¶ 290, ECF No. 8.) Within a few months after the tournament, Foster

  and Jane Doe 4 “were seeing one another several times a week.” (Am. Compl. ¶ 291, ECF

  No. 8.) Foster regularly served her alcohol and solicited sex from her, often while they were

  staying at hotels for Varsity competitions. (Id. ¶ 292, ECF No. 8.) Jane Doe 4 later started

  working for Foster at some point and, during this time, “felt that she could not deny Defendant

  Foster sex, or she would be punished professionally.” (Id. ¶¶ 293, 298, ECF No. 8.) For

  example, she alleges that Foster once threatened to change her employment status from salaried

  to hourly after she declined to travel out of town with him. (Id. ¶ 293, ECF No. 8.)

                                            7. Jane Doe 5

         Jane Doe 5 cheered for Rockstar as a fifteen-year-old. (Id. ¶ 299, ECF No. 8.) She

  alleges that Defendant Josh Guyton (“Guyton”), a “co-ed stunter and tumbling coach,” often

  touched her inappropriately during practice. (Am. Compl. ¶¶ 300-01, ECF No. 8.) Guyton

  once purportedly “put his hands on Jane Doe 5’s upper thighs and questioned her about whether

  she shaved her bikini area.” (Id. ¶ 301, ECF No. 8.) Guyton also often invited Jane Doe 5 to his

  apartment across from the gym “so that she could work on her homework in a quiet place

  nearby.” (Id. ¶ 302, ECF No. 8.) On one occasion when Jane Doe 5 was at his apartment,

  Guyton allegedly “lured Jane Doe 5 to his bedroom where he proceeded to touch [her] in a

  sexual and inappropriate way, tickling her and attempting to ‘cuddle’ her.” (Id. ¶ 303, ECF No.

  8.) Jane Doe 5 states that this “predatory, grooming behavior” was “so normalized and so




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  frequent” that it was not until she confided in her mother about Guyton’s conduct that she

  “recognized it as abuse.” (Id. ¶ 304, ECF No. 8.)

                                           8. Jane Doe 6

         Jane Doe 6 met Scott Foster when she was eighteen years old. (Am. Compl. ¶ 306, ECF

  No. 8.) After meeting Foster, she was invited to attend a cheer skills camp in Miami, Florida.

  (Id. ¶ 307, ECF No. 8.) One night during the trip, she claims that Foster gave her “a capful of

  liquid” he called “G,” which according to Foster, was “a substance used by body builders to

  make them look more muscular before a competition.” (Id. ¶¶ 307-08, ECF No. 8.) Foster then

  purportedly “took [her] to a nightclub, where they spent time in a VIP section.” (Id. ¶ 309, ECF

  No. 8.) Jane Doe 6 has “limited memory” of what happened next and was told by teammates

  that “she passed out on the couch in the VIP section, vomited on several occasions in several

  locations, and had to be showered.” (Id. ¶¶ 311-12, ECF No. 8.) Jane Doe 6 also claims that

  Foster forced her to drink “a half-capful of ‘G’” another night during the trip. (Am. Compl.

  ¶ 313, ECF No. 8.) After drinking the liquid the second time, she “sat down on a hotel bed and

  thereafter has no further memory from the evening.” (Id. ¶ 313, ECF No. 8.) Jane Doe 6 now

  speculates that the liquid that Foster gave her was GHB or gamma-hydroxybutyrate – more

  commonly known as the “date rape drug.” (Id. ¶ 314, ECF No. 8.)

                                           9. Jane Doe 7

         Jane Doe 7 began cheering for Rockstar when she was thirteen years old. (Id. ¶ 317,

  ECF No. 8.) During her time at Rockstar, she states that she “witnessed a culture of rampant

  drug use, underage alcohol consumption, sexual harassment and abuse.” (Id. ¶ 318, ECF No. 8.)




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  Jane Doe 7 was coached by Kathy Foster, who purportedly “withh[e]ld[] water from athletes”

  during training and subjected them to “excessive physical punishment and conditioning,”

  “verbal abuse,” “bullying,” and “body shaming.” (Am. Compl. ¶ 320, ECF No. 8.) Jane Doe 7

  also alleges that she was sexually abused by two Rockstar coaches – Defendants Nathan Allan

  Plank (“Plank”) and Christopher Hinton (“Hinton”). Jane Doe 7 claims that Plank, a twenty-

  four-year-old adult, “often grope[d] and touch[ed] [her] in an inappropriate way during stunting”

  and sent her multiple unsolicited nude photographs and videos of himself masturbating. (Id.

  ¶¶ 322-27, ECF No. 8.) Jane Doe 7 felt “powerless” to stop Plank’s behavior, “for fear that she

  would be demoted in the program or otherwise punished in a way that would negatively impact

  her cheer career.” (Id. ¶ 328, ECF No. 8.)

         When Jane Doe 7 was fourteen, she was approached by twenty-five-year-old Hinton.

  (Id. ¶ 329, ECF No. 8.) Hinton persuaded Jane Doe 7 to watch a movie with him one night,

  during which he questioned her about her sex life. (Id. ¶ 330, ECF No. 8.) “Jane Doe 7 recalls

  feeling uncomfortable, but conflicted as to how to respond” since she saw him “as an authority

  figure in the gym, a coach[,] and a person with a large social media presence and following.”

  (Am. Compl. ¶ 330, ECF No. 8.) The same night, Hinton allegedly “forced Jane Doe 7 to

  perform oral sex on him.” (Id. ¶ 331, ECF No. 8.) Jane Doe 7 was initially hesitant to report

  what happened yet eventually told her mother and sought counseling. (Id. ¶¶ 332-33, ECF

  No. 8.) Her mother reported the alleged abuse to the Greenville County Sheriff’s Department as

  well as to USASF and Varsity. (Id. ¶ 334, ECF No. 8.) Jane Doe 7 maintains that her mother’s

  complaints “were dismissed as an attempt to manipulate her daughter’s position on the cheer

  team” and that her mother “was told that if she did not like what she was seeing or experiencing


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  at Rockstar, she could ‘find another gym.’” (Id. ¶ 335, ECF No. 8.) Jane Doe 7 ultimately quit

  cheerleading because of these incidents and continues to suffer from anxiety, depression, and

  PTSD. (Am. Compl. ¶¶ 336-37, ECF No. 8.)

                                       D. Procedural History

         Plaintiffs filed their amended complaint on September 15, 2022. Against Bain and

  Charlesbank, they assert statutory claims under the Child Abuse Victims’ Rights Act of 1986

  (“CAVRA”), 18 U.S.C. § 2255, and the Racketeering Influenced and Corrupt Organizations Act

  (“RICO”), 18 U.S.C. §§ 1962(c) and (d), along with common-law claims for gross negligence,

  negligent security, and civil conspiracy.4 (Am. Compl., ECF No. 8.) On December 19, 2022,

  Bain and Charlesbank filed separate motions to dismiss for lack of personal jurisdiction under

  Rule 12(b)(2) and failure to state a claim under Rule 12(b)(6). (Bain Mot. Dismiss, ECF No.

  103); (Charlesbank Mot. Dismiss, ECF No. 105.) Plaintiffs responded to both motions on

  January 19, 2023. (Resp. Opp’n Bain Mot. Dismiss, ECF No. 123); (Resp. Opp’n Charlesbank

  Mot. Dismiss, ECF No. 122.) Bain and Charlesbank each replied on February 2, 2023.5 (Bain

  Reply, ECF No. 139); (Charlesbank Reply, ECF No. 141.) This matter is now ripe for decision.6



         4
          Plaintiffs also assert a claim for unjust enrichment against Bain but not against
  Charlesbank.
         5
            On March 1, 2023, Plaintiffs in the instant case filed a motion before the United States
  Judicial Panel on Multidistrict Litigation seeking to transfer all related, pending civil actions
  filed in districts throughout the United States. See Motion to Transfer, In re Varsity Spirit
  Athlete Abuse Litig., MDL No. 3077, ECF No. 1. The motion to transfer was denied on June 5,
  2023. In re Varsity Spirit Athlete Abuse Litig., MDL No. 3077, 2023 WL 3828645 (J.P.M.L.
  June 5, 2023).
         6
             Under Local Rule of Civil Procedure 7.08, the court may decide motions without a
  hearing.

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                                         II. LEGAL STANDARDS

                                            A. Rule 12(b)(2)

          Federal Rule of Civil Procedure 12(b)(2) allows a defendant to move to dismiss a

  complaint for lack of personal jurisdiction. “Where, as here, the . . . court decides jurisdiction

  on the motion papers alone, the plaintiff need only make a ‘prima facie showing of a sufficient

  jurisdictional basis’ to prevail.” Perdue Foods LLC v. BRF S.A., 814 F.3d 185, 188 (4th Cir.

  2016) (quoting Combs v. Bakker, 886 F.2d 673, 676 (4th Cir. 1989)). In deciding whether the

  plaintiff has made such showing, “the court must construe all relevant pleading allegations in the

  light most favorable to the plaintiff, assume credibility, and draw the most favorable inferences

  for the existence of jurisdiction.” Combs, 886 F.2d at 676. The court will not, however, “credit

  conclusory allegations or draw farfetched inferences.” Sonoco Prods. Co. v. ACE INA Ins., 877

  F. Supp. 2d 398, 405 (D.S.C. 2012) (quoting Masselli & Lane, PC v. Miller & Schuh, PA, No.

  99-2440, 2000 WL 691100, at *1 (4th Cir. 2000) (unpublished)).

                                            B. Rule 12(b)(6)

          “To survive a motion to dismiss, a complaint must contain sufficient factual matter,

  accepted as true, to ‘state a claim to relief that is plausible on its face.’” Iqbal, 556 U.S. at 678

  (2009) (quoting Bell Atl. Corp. v. Twombly, 550 U.S. 544, 570 (2007)). This plausibility

  standard is met “when the plaintiff pleads factual content that allows the court to draw the

  reasonable inference that the defendant is liable for the misconduct alleged.” Id. (citing

  Twombly, 550 U.S. at 556). “‘[D]etailed factual allegations’” are not required, but the plaintiff

  must present “more than an unadorned, the-defendant-unlawfully-harmed-me accusation.” Id.

  (quoting Twombly, 550 U.S. at 555). In reviewing the complaint, the court “must accept the


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  factual allegations of the complaint as true and construe them in the light most favorable to the

  nonmoving party.” Rockville Cars, LLC v. City of Rockville, 891 F.3d 141, 145 (4th Cir.

  2018).

                                              III. DISCUSSION

           The court begins with Bain’s and Charlesbank’s personal jurisdiction arguments under

  Rule 12(b)(2). Ruhrgas AG v. Marathon Oil, Inc., 526 U.S. 574, 583 (1999) (“Personal

  jurisdiction . . . is ‘an essential element of the jurisdiction of a district . . . court,’ without which

  the court is ‘powerless to proceed to an adjudication.’” (quoting Employers Reinsurance Corp.

  v. Bryant, 299 U.S. 374, 382 (1937))).

           There are two ways Plaintiffs can establish personal jurisdiction over Bain and

  Charlesbank: “(1) the nationwide service of process provisions of [RICO or the CAVRA] and

  then pendent personal jurisdiction over the state causes of action or (2) by a traditional minimum

  contacts and due process analysis for all causes of action.” Sadighi v. Daghighfekr, 36 F. Supp.

  2d 267, 271 (D.S.C. 1999). The court considers the latter route first.

     A. Whether Bain and Charlesbank Are Subject to General or Specific Jurisdiction in
                                    South Carolina

           Broadly speaking, personal jurisdiction refers to “the court’s power to exercise control

  over the parties.” Leroy v. Great W. United Corp., 443 U.S. 173, 180 (1979). A federal court

  may exercise personal jurisdiction over a nonresident defendant if (1) the forum state’s long-arm

  statute authorizes the exercise of jurisdiction and (2) the exercise of jurisdiction comports with

  the Due Process Clause of the Fourteenth Amendment. Ellicott Mach. Corp. v. John Holland

  Party Ltd., 995 F.2d 474, 477 (4th Cir. 1993). Where, as here, the forum state’s long-arm statute



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  extends to the limits of federal due process, the two-part inquiry collapses into one: whether the

  court’s exercise of personal jurisdiction satisfies the Fourteenth Amendment’s Due Process

  Clause. Foster v. Arletty 3 SARL, 278 F.3d 409, 414 (4th Cir. 2002). The Fourteenth

  Amendment prevents a federal court from exercising jurisdiction unless the defendant has “such

  ‘contacts’ with the forum State that ‘the maintenance of the suit’ is ‘reasonable’ . . . and ‘does

  not offend traditional notions of fair play and substantial justice.’” Ford Motor Co. v. Mont.

  Eighth Jud. Dist. Ct., 141 S. Ct. 1017, 1024 (2021) (quoting Int’l Shoe Co. v. Washington, 326

  U.S. 310, 316-17 (1945)).

         The Supreme Court has recognized two types of personal jurisdiction: general and

  specific. Id. General jurisdiction attaches when a defendant’s connections with the forum “are

  so continuous and systematic as to render them essentially at home in the forum State.” BNSF

  Ry. Co. v. Tyrrell, 581 U.S. 402, 413 (2017) (internal quotations marks omitted). Save for the

  “exceptional case,” a corporate defendant is “at home” only in its “place of incorporation and

  principal place of business.” Daimler AG v. Bauman, 571 U.S. 117, 137, 139 n.19 (2014).

  General jurisdiction does not exist in this case because both Bain and Charlesbank are

  incorporated and maintain their principal place of business in Massachusetts. (Am. Compl.

  ¶¶ 38-39, ECF No. 8.)

         The second type of personal jurisdiction – specific jurisdiction – exists when a case

  “aris[es] out of or relate[s] to the defendant’s contacts with the forum.” Helicopteros Nacionales

  de Colombia, S.A. v. Hall, 466 U.S. 408, 414 n. 8 (1984). To determine whether specific

  jurisdiction exists, courts in the Fourth Circuit consider “(1) the extent to which the defendant

  has purposefully availed itself of the privilege of conducting activities in the state; (2) whether


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  the plaintiffs’ claims arise out of those activities directed at the state; and (3) whether the

  exercise of personal jurisdiction would be constitutionally ‘reasonable.’” Carefirst of Md., Inc.

  v. Carefirst Pregnancy Ctrs., Inc., 334 F.3d 390, 397 (4th Cir. 2003) (quoting ALS Scan, Inc. v.

  Digital Serv. Consultants, Inc., 293 F.3d 707, 711-12 (4th Cir. 2002)). “The plaintiff must

  prevail on each prong.” Perdue Foods LLC v. BRF S.A., 814 F.3d 185, 189 (4th Cir. 2016).

          For the first prong, a defendant has purposefully availed itself of the benefits and

  protections of the forum state’s law if “the defendant deliberately has engaged in significant

  activities within [the forum]” or “has created continuing obligations between [itself] and

  residents of the forum.” Burger King Corp. v. Rudzewicz, 471 U.S. 462, 475-76 (1985)

  (internal quotations marks omitted). This purposeful-availment standard “ensures that a

  defendant will not be haled into a jurisdiction solely as a result of random, fortuitous, or

  attenuated contacts,” or due to “the unilateral activity of another party or a third person.” Id. at

  475 (internal quotations marks omitted).

          For the second prong – whether the plaintiff’s claims arise out of or relate to the

  defendant’s activities directed at the forum – “there must be an affiliation between the forum

  and the underlying controversy, principally, [an] activity or an occurrence that takes place in the

  forum State.’” Bristol-Myers Squibb Co. v. Super. Ct. of Cal., 582 U.S. 255, 262 (2017)

  (internal quotation marks omitted and alteration in original). “When there is no such

  connection, specific jurisdiction is lacking regardless of the extent of a defendant’s unconnected

  activities in the State.” Id.

          At the final prong, the court considers whether the exercise of jurisdiction “would

  comport with ‘fair play and substantial justice.’” Burger King, 471 U.S. at 476 (quoting Int’l


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  Shoe, 326 U.S. at 320). In doing so, the court weighs “the burden on the defendant, the forum

  State’s interest in adjudicating the dispute, the plaintiff’s interest in obtaining convenient and

  effective relief, the interstate judicial system’s interest in obtaining the most efficient resolution

  of controversies, and the shared interest of the several States in furthering fundamental

  substantive social policies.” Christian Sci. Bd. of Dirs. of the First Church of Christ, Scientist v.

  Nolan, 259 F.3d 209, 217 (4th Cir. 2001) (quoting Burger King, 471 U.S. at 477).

          Applying these principles, the court finds that Plaintiffs falter at the first prong of the

  specific-jurisdiction analysis as to both Defendants. Nothing in Plaintiffs’ amended complaint

  suggests that Bain or Charlesbank purposefully availed themselves of the privilege of doing

  business in South Carolina. There is no evidence, for example, that either Defendant maintains

  offices or agents in South Carolina, owns property in South Carolina, has reached into South

  Carolina to solicit or initiate business, has engaged in significant or long-term business activities

  in South Carolina, or is bound by any relevant contract with a South Carolina choice-of-law

  provision. See Consulting Eng’rs Corp. v. Geometric Ltd., 561 F.3d 273, 278 (4th Cir. 2009);

  Foster, 278 F.3d at 415 (finding no purposeful availment when defendants maintained no

  offices, agents, or employees in South Carolina and did not advertise in the state). Nevertheless,

  Plaintiffs ask the court to exercise jurisdiction over Bain and Charlesbank based on Bain’s and

  Charlesbank’s ownership interests in Varsity and the allegation that they “provided funding to

  market [competitive cheer] programs for the Varsity Defendants and obtained financial rewards

  from having done so.” (Am. Compl. ¶¶ 107-09, 196-98, ECF No. 8); (Resp. Opp’n Bain Mot.

  Dismiss 11-13, ECF No. 123); (Resp. Opp’n Charlesbank Mot. Dismiss 12-13, ECF No. 122.)




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          Merely owning a subsidiary or portfolio company that routinely conducts business within

  the forum, however, does not constitute purposeful availment. Saudi v. Northrop Grumman

  Corp., 427 F.3d 271, 276 (4th Cir. 2005) (“[T]he contacts of a corporate subsidiary cannot

  impute jurisdiction to its parent entity.”); see Cannon Mfg. Co. v. Cudahy Packing Co., 267 U.S.

  333, 336-37 (1925). Rather, to obtain personal jurisdiction over a parent, a plaintiff “must show

  that the subsidiary functions as the agent or mere department of the parent.” Builder Mart of

  Am., Inc. v. First Union Corp., 563 S.E.2d 352, 358 (S.C. Ct. App. 2002), overruled on other

  grounds by Farmer v. Monsanto Corp., 579 S.E.2d 325 (S.C. 2003). Here, Plaintiffs do not even

  attempt to argue that Bain or Charlesbank exercises pervasive control over Varsity’s day-to-day

  operations or that the entities fail to observe corporate formalities.7 Id. (stating that courts

  consider four factors in an alter-ego analysis: “(1) common ownership, (2) financial

  independence, (3) degree of selection of executive personnel and failure to observe corporate

  formalities, and (4) the degree of control over marketing and operational policies”). These

  shortcomings undermine any attempt by Plaintiffs to impute personal jurisdiction over Bain and

  Charlesbank based on Varsity’s contacts with South Carolina. Id. (“It is essential that all four

  factors be present with sufficient factual specificity to confer jurisdiction.” (emphasis in

  original)).

          In short, Plaintiffs have offered no facts either to show that Bain and Charlesbank

  engaged in any South Carolina-directed conduct or to overcome the presumption of corporate



          7
           Although Plaintiffs claim that Varsity, USASF, USA Cheer, Bain, Charlesbank, and
  Rockstar Cheer “all affirmatively and collectively represent themselves as one All-Star family,
  rather than separate parents and subsidiaries,” (Am. Compl. ¶ 193, ECF No. 8), that is a
  conclusory allegation that the court need not accept, Iqbal, 556 U.S. at 678.

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  separateness. As a result, the only remaining avenue for Plaintiffs to establish personal

  jurisdiction over Bain and Charlesbank is the nationwide-service-of-process provisions of RICO

  or the CAVRA.8 Sadighi, 36 F. Supp. 2d at 271; Taylor v. Bettis, 976 F. Supp. 2d 721, 748

  (E.D.N.C. 2013).

  B. Whether the Court Has Personal Jurisdiction Over Bain and Charlesbank Under RICO
                                     or the CAVRA

         Under Federal Rule of Civil Procedure 4(k)(1)(C), “[s]erving a summons or filing a

  waiver of service establishes personal jurisdiction over a defendant . . . when authorized by a

  federal statute.” RICO’s nationwide-service-of-process provision, 18 U.S.C. § 1965(d),

  provides that process “may be served on any person in any judicial district in which such person

  resides, is found, has an agent, or transacts his affairs.” To similar effect, the CAVRA allows

  for service of process on a defendant in an action brought under 18 U.S.C. § 2255 “in any

  district in which the defendant . . . is an inhabitant [or] may be found.” Id. § 2255(c)(2); see also

  Ramsbottom v. Ashton, No. 3:21-CV-00272, 2022 WL 106733, at *13 (M.D. Tenn. Jan. 11,

  2022) (unpublished) (“Numerous courts . . . have concluded that identical language for service

  of process in any district in which the defendant either ‘is an inhabitant’ or ‘may be found’

  ‘authorizes nationwide service of process’ and, thus, also provides ‘the statutory basis for

  personal jurisdiction.’” (quoting Peay v. BellSouth Med. Assistance Plan, 205 F.3d 1206, 1210



         8
            Plaintiffs alternatively argue that they are entitled to jurisdictional discovery to
  determine the full extent of Bain’s and Charlesbank’s contacts with South Carolina. A court
  may deny such a request “[w]hen a plaintiff offers only speculation or conclusory assertions
  about contacts with a forum state . . . .” Carefirst, 334 F.3d at 402. Based on the above analysis,
  the court has no basis to conclude that discovery might unearth facts sufficient to confer specific
  jurisdiction over Bain or Charlesbank. Accordingly, Plaintiffs’ request to conduct jurisdictional
  discovery is denied.

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  (10th Cir. 2000) (finding “no question” that identical language in 29 U.S.C. § 1132(e)(2)

  authorizes nationwide services of process in ERISA cases))).

         When a plaintiff relies on a federal statute providing for nationwide service of process,

  the court will have personal jurisdiction over a properly served defendant provided that (1) the

  federal claim is colorable and (2) the exercise of personal jurisdiction satisfies the Fifth

  Amendment’s Due Process Clause. See ESAB Grp., Inc. v. Centricut, Inc., 126 F.3d 617, 627-

  29 (4th Cir. 1997); Nunes v. Fusion GPS, 531 F. Supp. 3d 993, 1003-04 (E.D. Va. 2021). Both

  requirements are met in this case.

         As for the first requirement, Plaintiffs’ RICO and CAVRA claims against Bain and

  Charlesbank are “at least arguable and nonfrivolous.” D’Addario v. Geller, 264 F. Supp. 2d

  367, 389 (E.D. Va. 2003) (emphasis removed). In other words, the claims are not “wholly

  immaterial or insubstantial so as to deprive Plaintiff[s] of [their] right to rely on RICO’s [and the

  CAVRA’s] nationwide-service-of-process provision[s].” Fusion GPS, 531 F. Supp. 3d at 1004

  (internal quotations omitted); Republic of Pan. v. BCCI Holdings (Lux.) S.A., 119 F.3d 935,

  941 (11th Cir. 1997) (“When a jurisdictional motion to dismiss depends . . . on the assertion of a

  right created by a federal statute, the court should dismiss for lack of jurisdiction only if the right

  claimed is so insubstantial, implausible, foreclosed by prior decisions of this Court, or otherwise

  devoid of merit as not to involve a federal controversy.” (internal quotation marks omitted)).

  The court emphasizes the limited scope of this holding, however, as whether a federal claim is

  colorable for jurisdictional purposes is a distinct question from whether the claim is plausible for

  Rule 12(b)(6) purposes. Fusion GPS, 531 F. Supp. 3d at 1004; In re Takata Airbag Prods. Liab.

  Litig., 396 F. Supp. 3d 1101, 1144 (S.D. Fla. 2019); cf. Davis v. Featherstone, 97 F.3d 734, 737-


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  38 (4th Cir. 1996) (stating, in the ERISA context, that “[a] claim is colorable if it is arguable and

  nonfrivolous, whether or not it would succeed on the merits”).

         As for the second requirement, Bain and Charlesbank have sufficient contacts with the

  United States as a whole such that the court’s exercise of personal jurisdiction would not violate

  the Fifth Amendment. To start, the nationwide minimum-contacts component is satisfied, as

  both Defendants are incorporated and maintain their principal place of business in

  Massachusetts. United States ex rel. Fadlalla v. DynCorp. Int’l LLC, 402 F. Supp. 3d 162, 177

  (D. Md. 2019) (“[W]here . . . a federal statute authorizes nationwide service of process, a

  national contacts standard applies.” (internal quotation marks omitted)); Republic of Pan., 119

  F.3d at 946-47 (explaining that a Fifth Amendment due-process analysis considers “a

  defendant’s aggregate contacts with the nation as a whole rather than his contacts with the forum

  state”). Further, Defendants have not met the “heavy burden” of showing that the “assertion of

  personal jurisdiction over [them] would result in ‘such extreme inconvenience or unfairness as

  would outweigh the congressionally articulated policy’ evidenced by a nationwide service of

  process provision.” Trs. of the Plumbers & Pipefitters Nat’l Pension Fund v. Plumbing Servs.,

  791 F.3d 436, 444 (4th Cir. 2015) (quoting ESAB, 126 F.3d at 627). Although there may be

  times “in which a defendant [has] sufficient contacts with the United States as a whole but still

  will be unduly burdened by the assertion of jurisdiction in a faraway and inconvenient forum,”

  such is not the case here. Republic of Pan., 119 F.3d at 947.

         In sum, because Plaintiffs’ RICO and CAVRA claims are colorable, and litigating this

  case in South Carolina poses no constitutionally significant inconvenience to either Defendant,

  the court has personal jurisdiction over Bain and Charlesbank as to Plaintiffs’ RICO and


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  CAVRA claims asserted against them. The court may also exercise personal jurisdiction over

  the remaining state claims against each Defendant, as Plaintiffs’ “federal and state claims arise

  from a common nucleus of operative fact.” ESAB, 126 F.3d at 628 (“When a federal statute

  authorizes a federal district court to exercise personal jurisdiction over a defendant beyond the

  borders of the district and the defendant is effectively brought before the court, [there is] little

  reason not to authorize the court to adjudicate a state claim properly within the court’s subject

  matter jurisdiction so long as the facts of the federal and state claims arise from a common

  nucleus of operative fact.”). With that said, because the court’s exercise of personal jurisdiction

  over Plaintiffs’ state claims hinges on the viability of their federal “anchor” claims, see Geller,

  264 F. Supp. 2d at 387-88, the court next turns to Bain’s and Charlesbank’s Rule 12(b)(6)

  challenges to Plaintiffs’ CAVRA and RICO claims.

             C. Whether Plaintiffs Have Stated a Plausible CAVRA or RICO Claim

                        1. CAVRA Claim Under 18 U.S.C. § 2255 (Count I)

          Congress enacted § 2255 as part of the CAVRA to address the “multi-million dollar”

  child exploitation industry and the “lack [of] effective remedies” available to “exploitation

  victims” “under Federal law.” Pub. L. No. 99-500, § 702, 100 Stat. 1783, 1783-74 (1986).

  Section 2255 empowers victims of certain felonies related to sex trafficking, sexual abuse, and

  the distribution of child pornography to recover damages for the harms caused by their abusers.

  The statute reads:

          Any person who, while a minor, was a victim of a violation of section 1589, 1590,
          1591, 2241(c), 2242, 2243, 2251, 2251A, 2252, 2252A, 2260, 2421, 2422, or 2423
          of this title and who suffers personal injury as a result of such violation . . . may sue
          in any appropriate United States District Court and shall recover the actual damages
          such person sustains or liquidated damages in the amount of $150,000, and the cost
          of the action, including reasonable attorney’s fees and other litigation costs

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         reasonably incurred. The court may also award punitive damages and such other
         preliminary and equitable relief as the court determines to be appropriate.

  18 U.S.C. § 2255(a). No criminal conviction is necessary to recover damages. Prewett v.

  Weems, 749 F.3d 454, 458 (6th Cir. 2014) (reaching this conclusion after considering the plain

  meaning of the term “violation,” distinct uses of “violation” and “conviction” in neighboring

  statutes, and civil RICO’s violation requirement). Rather, a plaintiff need only show that the

  defendant committed one of the enumerated offenses by a preponderance of the evidence. Id.;

  Smith v. Husband, 376 F. Supp. 2d 603, 613 (E.D. Va. 2005); Doe v. Liberatore, 478 F. Supp.

  2d 742, 755 (M.D. Pa. 2007).

         The amended complaint alleges that Plaintiffs

         were minors at the time they were sexually abused and assaulted, sexually exploited,
         transported across state lines for illegal sexual activity, and used in creating illegal
         and obscene digital materials in contravention of 18 U.S.C. §§ 2241(c), 2242, 2243,
         2251, 2251A, 2252, 2252A, 2260, 2421, 2422, and 2223, thus constituting violations
         of 18 U.S.C. §2255.

  (Am. Compl. ¶ 346, ECF No. 8) (emphasis added). Plaintiffs claim that these acts were

  “enabled by the ongoing certification and ratification” of Varsity, USASF, USA Cheer, Bain,

  and Charlesbank since Rockstar Cheer was “held out” by those Defendants “as being part of a

  network of safe and trustworthy cheer coaching gyms.” (Id. ¶¶ 341, 345, ECF No. 8.) As

  explained below, however, Plaintiffs have not stated a plausible claim for relief against Bain or

  Charlesbank under § 2255.

         To begin, notably absent from Plaintiffs’ responses to Bain’s and Charlesbank’s motions

  to dismiss is any discussion of the eleven predicate offenses cited in the amended complaint.

  Plaintiffs instead spend several pages discussing only 18 U.S.C. §§ 1589 (forced labor) and

  1591 (sex trafficking) – statutes that they did not include in their amended complaint. The court

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  cannot consider claims raised for the first time in a response to a motion to dismiss. 2 James

  Wm. Moore, Moore’s Federal Practice § 12.34[2] (3d ed. 2022); Mylan Labs., Inc. v. Akzo,

  N.V., 770 F. Supp. 1053, 1068 (D. Md. 1991) (“[I]t is axiomatic that the complaint may not be

  amended by the briefs in opposition to a motion to dismiss.” (quoting Car Carriers, Inc. v. Ford

  Motor Co., 745 F.2d 1101, 1107 (7th Cir. 1984))); Pennsylvania ex rel. Zimmerman v. PepsiCo,

  Inc., 836 F.2d 173, 181 (3d Cir.1988) (“[L]egal theories set forth in [a] brief are helpful only to

  the extent that they find support in the allegations set forth in the complaint.”). To hold

  otherwise would effectively allow a party to circumvent the amendment requirements of Rule

  15(a).9 See Morgan Distrib. Co. v. Unidynamic Corp., 868 F.2d 992, 995 (8th Cir. 1989).

         At any rate, Plaintiffs seemingly concede in their amended complaint that they are

  proceeding solely under a theory of vicarious – not direct – liability against Bain and

  Charlesbank. (Am. Compl. ¶ 185, ECF No. 8) (“The unlawful acts alleged against Defendants

  Webb, Varsity, USASF, and USA Cheer, and vicariously against Defendant Charlesbank and

  Defendant Bain Capital in this Complaint . . . .” (emphasis added)). Although § 2255 does not

  address vicarious liability, the court must assume that “when Congress creates a tort action, it

  legislates against a legal background of ordinary tort-related vicarious liability rules and

  consequently intends its legislation to incorporate those rules.” Meyer v. Holley, 537 U.S. 280,

  285 (2003); United States v. Texas, 507 U.S. 529, 534 (1993) (“In order to abrogate a

  common-law principle, the statute must speak directly to the question addressed by the common

  law.” (internal quotation marks omitted)). Plaintiffs’ theory of liability thus requires allegations


         9
          Even if the court were to consider the new grounds for relief that Plaintiffs raise in their
  response briefs, Plaintiffs have not sufficiently alleged how Bain or Charlesbank violated
  § 1589(b) or § 1591(a)(2).

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  suggesting an agency relationship between Plaintiffs’ alleged abusers and Bain and Charlesbank.

  Meyer, 537 U.S. at 285 (“[T]raditional vicarious liability rules ordinarily make principals or

  employers vicariously liable for acts of their agents or employees in the scope of their authority

  or employment.”). More specifically, it requires facts that Bain and Charlesbank both had the

  right to control the coaches and consented to the coaches acting on their behalf. Id. at 286;

  Restatement (Second) of Agency § 1 (Am. L. Inst. 1958) (stating that an agency relationship is

  created when one person agrees with another “that the other shall act on his behalf and subject to

  his control”).

         The court’s review of the amended complaint reveals that Plaintiffs have pled no such

  facts. The closest Plaintiffs come to alleging any sort of relationship between the Rockstar

  Cheer coaches and Bain and Charlesbank is the generalized claim that the corporate Defendants

  “relied upon the gyms and coaches” “to provide a guaranteed stream of revenue” “of underage

  athletes.” (Am. Compl. ¶ 124, ECF No. 21.) Nowhere, though, does the amended complaint

  allege that there was express or implicit agreement that the coaches would act on Bain’s and

  Charlesbank’s behalf and subject to their control. See Restatement (Second) of Agency § cmt.

  a (Am. L. Inst. 1958) (“The principal must in some manner indicate that the agent is to act for

  him, and the agent must act or agree to act on the principal’s behalf and subject to his control.”).

  Plaintiffs’ failure to adequately allege an agency relationship is fatal to their attempt to hold

  Bain and Charlesbank vicariously liable for the alleged predicate offenses of other Defendants.




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         Finally, to the extent Plaintiffs seek to hold Bain and Charlesbank secondarily liable

  under an aiding-and-abetting theory, a plain reading of § 2255 and Supreme Court case law

  foreclose that argument.10

         When interpreting a statute, the court begins, as always, with the statute’s text. United

  States v. Bryant, 949 F.3d 168, 174 (4th Cir. 2020). The court “must presume that [Congress]

  says in a statute what it means and means in a statute what it says.” Conn. Nat’l Bank v.

  Germain, 503 U.S. 249, 253-54 (1992). “When the words of a statute are unambiguous, then,

  this first canon is also the last: judicial inquiry is complete.” Id. at 254. (internal quotations and

  citation omitted). Section 2255 makes no mention of secondary liability, which “by itself is an

  indication that Congress did not intend to permit such a theory.” Doe v. City of Gauley Bridge,

  No. 2:21-cv-00491, 2022 WL 3587827, at *13 (S.D. W. Va. Aug. 22, 2022) (unpublished);

  Boim v. Holy Land Found. for Relief & Dev., 549 F.3d 685, 689 (7th Cir. 2008) (en banc)

  (Posner, J.) (“[S]tatutory silence on the subject of secondary liability means there is none.”).

         To be sure, the court recognizes that a few other courts have read secondary liability into

  § 2255. See Liberatore, 478 F. Supp. 2d at 758-59; Doe v. Schneider, No. 08-3805, 2013 WL



         10
             The federal aiding-and-abetting statute provides that “[w]hoever . . . aids, abets,
  counsels, commands, induces or procures [the commission of an offense against the United
  States] is punishable as a principal.” 18 U.S.C. § 2(a). Bain, Charlesbank, and the authorities
  on which they rely seem to conflate vicarious liability with aiding-and-abetting liability.
  Vicarious liability allows a defendant to be held liable for the bad acts of another simply because
  of the defendant’s relationship with the wrongdoer. Restatement (Second) of Agency § 219
  (Am. L. Inst. 1958). On the other hand, aiding-and-abetting liability holds a defendant
  responsible for his own acts in helping the wrongdoer. Rosemond v. United States, 572 U.S. 65,
  71 (2014) (“[A] person is liable under § 2 for aiding and abetting a crime if (and only if) he (1)
  takes an affirmative act in furtherance of that offense, (2) with the intent of facilitating the
  offense’s commission.”).


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  5429229, at *10 (E.D. Pa. Sept. 30, 2013) (unpublished) (following Liberatore); M.A. ex rel.

  P.K. v. Village Voice Media Holdings, LLC, 809 F. Supp. 2d 1041, 1053-54 (E.D. Mo. 2011)

  (same). In doing so, however, those courts overlooked the Supreme Court’s decision in Central

  Bank, N.A. v. First Interstate Bank, N.A., 511 U.S. 164 (1994). Central Bank concerned

  whether a private cause of action extends to suits against aiders and abettors of securities fraud

  under § 10(b) of the Securities and Exchange Act of 1934. 511 U.S. at 167. The Court

  answered that question in the negative, reasoning that “Congress kn[ows] how to impose aiding

  and abetting liability when it cho[oses] to do so. If . . . Congress intended to impose aiding and

  abetting liability, we presume it would have used the words ‘aid’ and ‘abet’ in the statutory text.

  But it did not.” Id. at 176-77 (internal citations omitted). The Court went on to explain that

  because “Congress has not enacted a general civil aiding and abetting statute,” “there is no

  general presumption that [a] plaintiff may also sue aiders and abettors” when Congress creates a

  private cause of action. Id. at 182.

         Central Bank’s rationale is not limited to the context of federal securities laws, as

  “nothing in its holding turns on particular features of those laws.” Boim, 549 F.3d at 689; see

  also Owens v. BNP Paribas, S.A., 897 F.3d 266, 277-78 (D.C. Cir. 2018) (relying on Central

  Bank in holding that the pre-Justice Against Sponsors of Terrorism Act version of 18 U.S.C.

  § 2333 does not permit aiding-and-abetting liability); Freeman v. DirecTV, Inc., 457 F.3d 1001,

  1006 & n.1 (9th Cir. 2006) (relying on Central Bank in holding that §§ 2702 and 2707 of the

  Electronic Communications Privacy Act do not allow for secondary liability). As a result, the

  court finds the reasoning of Central Bank controlling and declines to read secondary liability

  into § 2255.


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         Based on the above, Plaintiffs have failed to state a § 2255 claim against Bain or

  Charlesbank. The court therefore grants Bain’s and Charlesbank’s motions to dismiss Count I.

                    2. RICO Claims Under 18 U.S.C. § 1962(c), (d) (Count II)

         18 U.S.C. § 1964 provides a civil cause of action for “[a]ny person injured in his

  business or property by reason of a violation” of RICO’s substantive provisions found in § 1962.

  Section 1962(c), in turn, prohibits “any person employed by or associated with any enterprise”

  that engages in interstate commerce from “conduct[ing] or participat[ing], directly or indirectly,

  in the conduct of such enterprise’s affairs through a pattern of racketeering activity.” To state a

  claim under § 1962(c), then, a plaintiff must allege “(1) conduct (2) of an enterprise (3) through

  a pattern (4) of racketeering activity,” Sedima, S.P.R.L. v. Imrex, Co., 473 U.S. 479, 496 (1985),

  as well as (5) injury to “business or property” (6) proximately caused by the RICO violation,

  Potomac Elec. Power Co. v. Elec. Motor & Supply, Inc., 262 F.3d 260, 264 (4th Cir. 2001).

  RICO’s conspiracy provision, § 1962(d), makes it “unlawful for any person to conspire to

  violate any of the provisions” of § 1962, including § 1962(c).

         Bain and Charlesbank challenge nearly every aspect of Plaintiffs’ RICO claims under

  §§ 1962(c) and (d). As explained below, the court finds that Plaintiffs have not plausibly

  alleged (1) RICO standing, (2) an association-in-fact enterprise, (3) that Bain or Charlesbank

  conducted the affairs of the purported enterprise, (4) that the two Defendants engaged in any

  racketeering activity, let alone a pattern of such activity, or (5) that they conspired to commit a

  RICO violation.




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                                           a. RICO Standing

          RICO’s standing requirement has two elements: injury to “business or property” and

  causation. Brandenburg v. Seidel, 859 F.2d 1179, 1187 (4th Cir. 1988).

          To begin, the court notes that any personal injuries Plaintiffs may have suffered as a

  result of the alleged abuse cannot confer RICO standing. Bast v. Cohen, Dunn & Sinclair, P.C.,

  59 F.3d 492, 496 (4th Cir. 1995) (“[A]llegation[s] of personal injury and pecuniary losses

  occurring therefrom are not sufficient to meet the statutory requirement of injury to ‘business or

  property.’”). Plaintiffs, for their part, argue that their lost ability to cheer competitively and the

  dues and fees they paid Varsity and USASF are sufficient to satisfy RICO’s standing

  requirement. The court will discuss the sufficiency of these alleged harms in turn.

                                i. Lost Ability to Cheer Competitively

          Plaintiffs contend that they had an identifiable property interest in the “continued ability

  to cheer competitively,” which would have allowed them to achieve and monetize social media

  fame, earn athletic scholarships, and perhaps one day become cheer coaches, gym owners, or

  event promoters themselves. (RICO Case Statement 45, ECF No. 38.) This argument lacks

  merit for two reasons. First, any injuries that Plaintiffs might suffer from having their

  competitive cheerleading careers cut short are too speculative to constitute injury to business or

  property within the meaning of § 1964(c). See Price v. Pinnacle Brands, 138 F.3d 602, 607 (5th

  Cir. 1998) (“Injury to mere expectancy interests or to an intangible property interest is not

  sufficient to confer RICO standing.” (internal quotation marks omitted)). Plaintiffs had, at best,

  mere expectancy interests in “realizing future financial and business opportunities in which

  [they] and their famil[ies] invested.” (RICO Case Statement 46, ECF No. 38); see, e.g., Bowen


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  v. Adidas Am., Inc., 541 F. Supp. 3d 670, 679-80 (D.S.C. 2021) (holding that a former college

  basketball player had an “unrecoverable expectancy interest . . . . in the supposed lost

  professional earnings he hoped to obtain as a first-round NBA draft pick”); Strates Shows, Inc.

  v. Amusements of Am., Inc., 379 F. Supp. 2d 817, 827-28 (E.D.N.C. 2005) (finding that

  plaintiff lacked a property interest in the expectation of a contract even though plaintiff had been

  awarded the contract “as a matter of course in past years”); In re Taxable Mun. Bond Sec. Litig.,

  51 F.3d 518, 523 (5th Cir. 1995) (“Anderson’s suit shows only a lost opportunity to obtain a . . .

  loan. Such lost opportunity by itself does not constitute an injury that confers standing to bring

  a RICO cause of action.”).

         Second, even if Plaintiffs had incurred concrete losses from being unable to continue

  cheerleading, those losses could not confer RICO standing as they would be derivative of non-

  compensable personal injuries – that is, those stemming from the alleged sexual abuse Plaintiffs

  suffered. RICO’s “injury to business or property” requirement excludes from its reach not only

  personal injuries, but also “pecuniary losses occurring therefrom.” Bast, 59 F.3d at 495; Doe v.

  Roe, 958 F.2d 763, 768-70 (7th Cir. 1992) (miscellaneous expenses flowing from mental

  distress caused by arrangement in which plaintiff was coerced into paying for legal fees with

  sexual services not actionable under RICO); Grogan v. Platt, 835 F.2d 844, 848 (11th Cir. 1988)

  (economic damages, including loss of income, resulting from murder not actionable).

         For these reasons, Plaintiffs cannot state a RICO claim based on any damages resulting

  from their lost ability to compete in competitive cheerleading.




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                                   ii. Membership Dues and Fees

         Next, Plaintiffs claim that they have RICO standing based on the “membership dues,

  fees, and other incidental costs they paid to Defendants.” (RICO Case Statement 46, ECF No.

  38.)

         As an initial matter, the court finds that the sums Plaintiffs paid to become USASF

  members and compete in Varsity events are sufficient to satisfy RICO’s “business or property”

  requirement. See Reiter v. Sonotone Corp., 442 U.S. 330, 338 (1979) (“Money, of course, is a

  form of property.”). With that said, to establish RICO standing, Plaintiffs must also show that

  Defendants’ predicate acts were both the but-for and proximate cause of their alleged injuries.

  Hemi Grp., LLC v. City of New York, N.Y., 559 U.S. 1, 9 (2010).

         Bain and Charlesbank contend that Plaintiffs cannot show causation, relying on Gilbert

  v. U.S. Olympic Comm., No. 18-cv-00981-CMA-MEH, 2019 WL 1058194 (D. Colo. Mar. 6,

  2019) (unpublished), Report and Recommendation adopted in relevant part by 423 F. Supp. 3d

  1112 (D. Colo. 2019).11 The plaintiffs in Gilbert were female taekwondo athletes who allegedly

  suffered sexual abuse while competing in the USA Taekwondo (“USAT”) system. Id. at *1. In

  support of their RICO claim, the plaintiffs argued that they had RICO standing based in part on

  the $50 annual membership fee they each paid the USAT. Id. at *24. The court rejected that

  argument, reasoning that “Plaintiffs paid $50 in dues to be members of USAT” and “participate

  in USAT-sanctioned events,” not because of the defendants’ predicate acts. Id. at *25. A

  similar conclusion is warranted in this case.


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            Bain and Charlesbank have incorporated by reference the RICO standing arguments
  made by co-Defendant Varsity Spirit. (Bain’s Mem. Supp. Mot. Dismiss 10-11, ECF No. 103-
  1); (Charlesbank’s Mem. Supp. Mot. Dismiss 10, ECF No. 105-1.)

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         “When a court evaluates a RICO claim for proximate causation, the central question it

  must ask is whether the alleged violation led directly to the plaintiff’s injuries.” Anza v. Ideal

  Steel Supply Corp., 547 U.S. 451, 461 (2006) (emphasis added). In other words, the focus is not

  “on whether the harm to the RICO plaintiff was a foreseeable result of the defendant’s conduct

  or even whether it was ‘the intended consequence[] of [that] behavior,’ but rather on ‘the

  directness of the relationship between the conduct and the harm.’” Slay’s Restoration, LLC v.

  Wright Nat’l Flood Ins. Co., 884 F.3d 489, 493 (4th Cir. 2018) (emphases removed) (quoting

  Hemi Grp., 559 U.S. at 12).

         In their RICO case statement, Plaintiffs state that “[t]he actions of the Enterprise and its

  conspirators were the direct and proximate cause of [their] injuries.” (RICO Case Statement 46,

  ECF No. 38.) Those allegations, however, are precisely the sort of “[t]hreadbare recitals of the

  elements of a cause of action, supported by mere conclusory statements,” that the court need not

  accept. Iqbal, 556 U.S. at 678. Moreover, although Plaintiffs claim that “[b]ut for the

  fraudulent assurances to their parents that the gyms and coaches were certified safe, the abuse

  would not have occurred,” (RICO Case Statement 46, ECF No. 38) (emphasis added), nowhere

  do any of the nine Plaintiffs allege that they paid dues and fees as a direct result of any party’s

  purported misrepresentations.12 Rather, Plaintiffs seemingly paid membership dues and


         12
              To be sure, a plaintiff asserting a RICO claim based on wire or mail fraud “need not
  show, either as an element of its claim or as a prerequisite to establishing proximate causation,
  that it relied on the defendant’s alleged misrepresentations.” Bridge v. Phoenix Bond & Indem.
  Co., 553 U.S. 639, 661 (2008). The plaintiffs in Bridge were regular participants in a county’s
  tax lien auctions who alleged that the defendants’ false attestations of compliance with the
  county’s rule prohibiting simultaneous bidding deprived of them of their fair share of winning
  bids. Id. 642-44. The Court held that the plaintiffs’ RICO claims could proceed even though
  the defendants’ misrepresentations were directed to and relied on by the county – and not the
  plaintiffs. The Court clarified, however, that

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  competition fees out of necessity to participate in events sanctioned by USASF and Varsity. See

  (Am. Compl. ¶ 51, ECF No. 8) (“Defendant Webb, through Defendant Varsity, founded

  Defendant USASF, and mandated that All-Star athletes purchase a USASF membership as a

  requirement to competing at Varsity-sponsored events.”); (Id. ¶ 56, ECF No. 8) (“All-Star

  athletes competing on behalf of Varsity-associated gyms pay monthly or annual fees to the gym

  as well as annual fees to the Varsity Defendants for competition attendance, uniforms,

  accessories, and other related fees.” ); (Id. ¶¶ 223, 243, 250, 266, 280, 298, 305, 316, 338, ECF

  No. 8); see also Gilbert, 2019 WL 1058194, at *25.

         Thus, having not adequately alleged that they were injured “by reason” of Defendants’

  predicate acts, Plaintiffs cannot state a RICO claim based on the “membership dues, fees, and

  other incidental costs they paid to Defendants.” (RICO Case Statement 46, ECF No. 38.)

                                             b. Enterprise

         Even if Plaintiffs could establish RICO standing, their § 1962(c) claim would still be

  subject to dismissal for failure to plausibly allege the existence of an association-in-fact

  enterprise.




         none of this is to say that a RICO plaintiff who alleges injury ‘by reason of’ a
         pattern of mail fraud can prevail without showing that someone relied on the
         defendant’s misrepresentations. . . . In most cases, the plaintiff will not be able to
         establish even but-for causation if no one relied on the misrepresentation.
  Id. at 658 (emphasis in original). In contrast to Bridge, this case does not present a third-party
  reliance scenario. Thus, if Plaintiffs (or their parents) did not rely on Defendants’ alleged
  misrepresentations in paying Plaintiffs’ membership dues and competition fees, Plaintiffs could
  not have been injured by reason of Defendants’ alleged fraudulent scheme. After all, “a
  misrepresentation can cause harm only if a recipient of the misrepresentation relies on it.” Id. at
  656 n.6.

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         A RICO enterprise “includes any . . . group of individuals associated in fact although not

  a legal entity.” 18 U.S.C. § 1961(4). “Such a group need not have a hierarchical structure or a

  ‘chain of command’” or business-like characteristics such as “a name, regular meetings, dues,

  established rules and regulations, disciplinary procedures, or induction or initiation ceremonies.”

  Boyle v. United States, 556 U.S. 938, 948 (2009). Rather, “an association-in-fact enterprise

  must have at least three structural features: a purpose, relationships among those associated with

  the enterprise, and longevity sufficient to permit these associates to pursue the enterprise’s

  purpose.” Id. at 946.

         Plaintiffs allege that all named Defendants formed an association-in-fact enterprise to

  “endanger[] the Plaintiffs as minor athletes by exposing them to illegal sexual abuse and

  exploitation” all while charging them dues and fees “to compete in the self-same system of

  abuse.” (RICO Case Statement 35-36, ECF No. 38). Plaintiffs, though, have pled no facts to

  suggest that the Rockstar coaches shared a common purpose with the Varsity Defendants,

  USASF, USA Cheer, Webb, Bain, and Charlesbank. Indeed, based on the facts alleged in

  Plaintiffs’ amended complaint and RICO case statement, the individual coaches and corporate

  entities had divergent goals: the coaches sought to prey on minor athletes for their own sexual or

  personal gratification; the corporate entities sought to retain athletes and attract new ones to

  generate more money. Cf. Baker v. IBP, Inc., 357 F.3d 685, 691 (7th Cir. 2004) (Easterbrook,

  J.) (no common purpose where employer allegedly hired undocumented workers to depress

  wages because the employer “want[ed] to pay lower wages,” “the recruiters want[ed] to be paid

  more for services rendered,” and the immigrant-welfare organization “want[ed] to assist

  members of its ethnic group”); McPeters v. Edwards, 806 F. Supp. 2d 978, 988-89 (S.D. Tex.


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  2011) (no common purpose because the defendant judge’s “purpose in ordering e-filing was to

  encourage efficiency, while LexisNexis’s purpose was to generate profits”); Marshall v.

  Goguen, Cv 21-19-M-DWM, 2022 WL 1641776, *17 (D. Mont. May 24, 2022) (unpublished)

  (no common purpose because one defendant “sought to preserve his reputation, while [other

  defendants] sought to financially benefit off him”), appeal filed, 22-35499 (9th Cir. June 27,

  2022). Its strains credulity to suggest, as Plaintiffs do, that Varsity, its corporate parents, and

  cheerleading’s governing bodies intended to subject the very athletes they relied on as a major

  revenue source to “illegal sexual abuse and exploitation” as a means of generating further

  profits. (RICO Case Statement 35-36, ECF No. 38.) At bottom, without nonconclusory

  allegations that Bain and Charlesbank shared a common purpose with the perpetrators of the

  alleged abuse, Plaintiffs have failed to allege a RICO enterprise.

                                               c. Conduct

         Even if Plaintiffs had RICO standing and had adequately alleged the existence of an

  enterprise, they would still need to allege that Bain and Charlesbank “conduct[ed] or

  participate[d]” in the conduct of the enterprise’s affairs. 18 U.S.C. § 1962(c). In Reves v. Ernst

  & Young, the Supreme Court clarified that the “conduct or participate” element requires

  showing that a defendant “participate[d] in the operation or management of the enterprise itself.”

  507 U.S. 170, 185 (1993). Stated another way, the plaintiff must show that the defendant took

  “some part in directing” the enterprise’s affairs. Id. at 179.

         Plaintiffs’ amended complaint contains no allegations that Bain or Charlesbank played

  any role in directing the affairs of the alleged Varsity enterprise. The extent of Plaintiffs’ RICO

  allegations is that Bain and Charlesbank provided funding to the Varsity Defendants. (RICO


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  Case Statement 5-6, 19, 40, ECF No. 38.) Providing capital to a member of a RICO enterprise,

  however, is a far cry from “participat[ing] in the operation or management of the enterprise

  itself.” Reves, 507 U.S. at 185. Indeed, RICO “does not penalize tangential involvement in an

  enterprise,” and “[a]llegations that a defendant had a business relationship with the putative

  RICO enterprise or that a defendant performed services for that enterprise” do not trigger

  liability. Crichton v. Golden Rule Ins. Co., 576 F.3d 392, 399 (7th Cir. 2009); see Univ. of Md.

  v. Peat, Marwick, Main & Co., 996 F.2d 1534, 1539 (3d Cir. 1993) (“Simply because one

  provides goods or services that ultimately benefit the enterprise does not mean that one becomes

  liable under RICO as a result.”); George v. Urban Settlement Servs., 833 F.3d 1242, 1251 (10th

  Cir. 2016) (“[A] defendant must do more than simply provide, through its regular course of

  business, goods and services that ultimately benefit the enterprise.”). Thus, absent plausible

  allegations that Bain and Charlesbank did anything other than provide funding to Varsity in their

  roles as corporate owners, they cannot be held liable under § 1962(c).

                                      d. Racketeering Activity

         Lastly, Plaintiffs’ § 1962(c) claim fails because they have not plausibly alleged that Bain

  and Charlesbank committed two predicate acts of racketeering activity. See, e.g., DeFalco v.

  Bernas, 244 F.3d 286, 306 (2d Cir. 2001) (“The requirements of section 1962(c) must be

  established as to each individual defendant.”); In re Wellpoint, Inc. Out-of-Network Rates Litig.,

  865 F. Supp. 2d 1002, 1035 (C.D. Cal. 2011) (“Where RICO is asserted against multiple

  defendants, a plaintiff must allege at least two predicate acts by each defendant.” (emphasis in

  original)); Kerrigan v. ViSalus, Inc., 112 F. Supp. 3d 580, 605 (E.D. Mich. 2015) (same).




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         “RICO is founded on the concept of racketeering activity.” RJR Nabisco, Inc. v.

  European Cmty., 579 U.S. 325, 329 (2016). The RICO statute contains an exhaustive list of

  predicate acts that qualify as “racketeering activity.” 18 U.S.C. § 1961(1). Included in the list

  is “any act which is indictable under” 18 U.S.C. § 1341 (mail fraud) or 18 U.S.C. § 1343 (wire

  fraud). 18 U.S.C. § 1961(1)(B).

         To state a claim for mail or wire fraud, a plaintiff must plausibly allege: “(1) the

  existence of a scheme to defraud and (2) the use of the mails or wire communication in

  furtherance of the scheme.” United States v. Curry, 461 F.3d 452, 457 (4th Cir. 2006). Because

  the “gravamen” of mail and wire fraud “is the scheme to defraud,” Bridge, 553 U.S. at 647, even

  “innocent” or “routine” mailings or wire transmissions can satisfy the second element as long as

  the use of mail or wires somehow furthered the fraudulent scheme, Schmuck v. United States,

  489 U.S. 705, 715 (1989). Nevertheless, “a plaintiff still needs to allege a material

  misrepresentation as part of the defendants’ scheme to [de]fraud to state a violation of section

  1341 or 1343.” Williams v. Affinion Grp., LLC, 889 F.3d 116, 125 (2d Cir. 2018); Neder v.

  United States, 527 U.S. 1, 25 (1999).

         A plaintiff relying on mail or wire fraud as predicate acts must also satisfy the

  heightened pleading standard of Federal Rule of Civil Procedure 9(b). Jones v. Ram Med., Inc.,

  807 F. Supp. 2d 501, 513 (D.S.C. 2011). Rule 9(b) requires a plaintiff alleging fraud to “state

  with particularity the circumstances constituting [the] fraud.” Those circumstances include “the

  time, place, and contents of the false representations, as well as the identity of the person making

  the misrepresentation and what he obtained thereby,” Edmonson v. Eagle Nat’l Bank, 922 F.3d

  535, 553 (4th Cir. 2019) (internal quotations marks omitted) – or more simply, “the who, what,


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  when, where, and how of the alleged fraud,” United States ex rel. Taylor v. Boyko, 39 F.4th 177,

  189 (4th Cir. 2022) (internal quotations marks omitted).

         In this case, Plaintiffs fall well short of plausibly alleging that Bain or Charlesbank

  committed mail or wire fraud. Plaintiffs have not identified a single misrepresentation

  attributable to Bain or Charlesbank – let alone when it was made, how it was false or

  misleading, or which particular Plaintiff relied on it. See Xia Bi v. McAuliffe, 927 F.3d 177,

  184-85 (4th Cir. 2019) (“How and whether a party relied on a misstatement is every bit as much

  a ‘circumstance[] constituting fraud’ as any other element.” (quoting Fed. R. Civ. P. 9(b))). For

  this reason alone, Plaintiffs have failed to state a plausible § 1962(c) claim against Bain and

  Charlesbank.

                                         e. RICO Conspiracy

         Plaintiffs’ RICO conspiracy claim under § 1962(d) is also deficient. Because Plaintiffs

  lack RICO standing and have not adequately alleged the existence of a RICO enterprise, they

  cannot assert a § 1962(c) claim against any Defendant. Without a viable § 1962(c) claim, their

  conspiracy claim under § 1962(d) necessarily fails, too. GE Inv. Priv. Placement Partners II v.

  Parker, 247 F.3d 543, 551 n.2 (4th Cir. 2001); Foster v. Wintergreen Real Estate Co., 363 F.

  App’x 269, 275 n.6 (4th Cir. 2010) (unpublished).

         Even if Plaintiffs had sufficiently alleged a substantive RICO violation, their § 1962(d)

  claim would still be subject to dismissal for failure to state a claim. “To satisfy § 1962(d), the

  plaintiff must establish two elements: (1) that two or more people agreed that some member of

  the conspiracy would commit at least two racketeering acts (i.e. a substantive RICO offense)




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  and, (2) that the defendant knew of and agreed to the overall objective of the RICO offense.”

  Borg v. Warren, 545 F. Supp. 3d 291, 319 (E.D. Va. 2021).

         In describing the alleged conspiracy, Plaintiffs state that Defendants “operated as a single

  unified entity with the common goal of taking billions of dollars from minor athletes who

  wanted to be a part of Defendants’ All-Star cheer world” and that Defendants “act[ed] as a

  collective group” in “endangering the Plaintiffs.” (RICO Case Statement 44-45, ECF No. 38.)

  Apart from these conclusory allegations, Plaintiffs have alleged no facts tending to show that

  each Defendant agreed that some member of the conspiracy would commit at least two

  racketeering acts. See Chambers v. King Buick GMC, LLC, 43 F. Supp. 3d 575, 607 (D. Md.

  2014) (“[B]ecause the core of a RICO civil conspiracy is an agreement to commit predicate acts,

  a RICO civil conspiracy complaint, at the very least, must allege specifically such an

  agreement.” (quoting Hecht v. Commerce Clearing House, Inc., 897 F.2d 21, 25 (2d Cir.

  1990))); Walters v. McMahen, 795 F. Supp. 2d 350, 355 (D. Md. 2011) (stating that a plaintiff

  bringing a § 1962(d) claim must “describe in detail the conspiracy, including the identity of the

  co-conspirators, the object of the conspiracy, and the date and substance of the conspiratorial

  agreement”).

         For these reasons, Plaintiffs have failed to state a valid § 1962(d) claim against Bain and

  Charlesbank. Count II is therefore dismissed in its entirety as to both Defendants.

                             D. Pendent-Claim Personal Jurisdiction

         Having found that Plaintiffs have not stated a plausible CAVRA or RICO claim under

  Rule 12(b)(6), meaning there is no viable anchor claim, the court declines to exercise pendent-

  claim personal jurisdiction over the remaining state-law claims against Bain and Charlesbank.


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  Bettis, 976 F. Supp. 2d at 751 (“If, however, the court dismisses [the] federal claim providing

  personal jurisdiction – also known as the ‘anchor’ federal claim – early in the litigation, the

  court may, in its discretion, dismiss the remaining federal and state claims.”), aff’d, 693 F.

  App’x 190 (4th Cir. 2017) (unpublished); Geller, 264 F. Supp. 2d at 387-88 (“[I]f the court were

  later to determine that the federal claim(s) should be dismissed against a defendant, the state

  claims against that defendant would also have to be dismissed, unless another basis for asserting

  personal jurisdiction exists.”); United States v. Botefuhr, 309 F.3d 1263, 1274 (10th Cir. 2002)

  (holding that the district court abused its discretion by retaining jurisdiction over remaining

  claims after dismissing the anchor claim).

         It is therefore

         ORDERED that Bain’s and Charlesbank’s motions to dismiss, document numbers 103

  and 105, are granted.

         IT IS SO ORDERED.

                                                s/Henry M. Herlong, Jr.
                                                Senior United States District Judge


  Greenville, South Carolina
  June 27, 2023




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